                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

ANGELA BASS,                                )
          Plaintiff,                        )
                                            )
           v.                               )
                                            )              JUDGMENT
KILOLO KIJAKAZI,                            )
Acting Commissioner of Social Security,     )              Case No. 5:22-CV-78-KS
             Defendant.                     )
                                            )




Decision by Court.

This action came before United States Magistrate Judge Kimberly A. Swank for consideration of the
Plaintiff’s Motion for Judgment on the Pleadings [DE-21] and the Defendant’s Consent Motion to
Remand [DE-27].

IT IS ORDERED, ADJUDGED AND DECREED the court grants the Defendant’s Consent Motion
to Remand and the Court hereby reverses the Commissioner’s decision under sentence four of 42
U.S.C § 405(g) and remands the case to the Commissioner for further proceedings.


This judgment filed and entered on December 2, 2022, with electronic service upon:

Charlotte Williams Hall- Counsel for Plaintiff
Wanda Mason- Counsel for Defendant


                                            PETER A. MOORE, JR.,
                                            CLERK, U.S. DISTRICT COURT



DATE: December 2, 2022                      /s/ Shelia Foell
                                            (By): Shelia Foell, Deputy Clerk of Court




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